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   EXHIBIT “K”
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  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: Deposition Notice for the Zakaria Defendants for 5/14/24 at 10 am
   Date: April 29, 2024 at 4:06 PM
     To: Pat Healey phealey@rebarkelly.com, Cathleen Kelly Rebar crebar@rebarkelly.com
    Cc: Laver, Seth L. slaver@goldbergsegalla.com, Joseph Ross jross@goldbergsegalla.com, Gary Weiss wgary4109@gmail.com,
         monipair monipair@aol.com, Sam Gross charltonholdinggroupllc@aol.com, Sam Gross Scg1212@gmail.com, Sam Gross
         publicdiamonds@gmail.com, Sam Gross samrosinc@icloud.com, Kim DiTomaso kditomaso@lightmanlaw.com, Glenn Manochi
         gmanochi@lightmanlaw.com, GARY LIGHTMAN ltag8r@me.com




       Patrick,

       You are hereby served with plaintiff’s Second Amended Notice of Oral
       Depositions of Daphna Zekaria, Esquire and Sokolski & Zekaria, PC
       (With Request for Production of Documents), re-scheduling the in-
       person depositions of the Zekaria Defendants to commence on
       Tuesday, May 14, 2024, at 10:00 a.m., in the President’s Board Room
       of the Country House at Bluestone Country Club, 711 Boehms Church
       Road, in Blue Bell, PA 19422 (the same room where the 4/2/24
       deposition of Zekaria was started).

       thx
       Gary Lightman
       cell 215-760-3000

       attachment



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       PS, This email also will remind you that to have Zekaria bring with her
       to the deposition, the written retainer/escrow agreement between her
       and Gary Weiss, that she testified to at her 4/2/24 deposition, was
       printed out and in a pile of documents in her office — if she does not
       produce out for us before the 5/14 deposition. thx


         On Feb 18, 2024, at 3:57 PM, GARY LIGHTMAN <ltag8r@me.com>
         wrote:
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Patrick,

You are hereby served with plaintiff’s Notice of Oral Depositions of
Daphna Zekaria, Esquire and Sokolski & Zekaria, PC (With Request
for Production of Documents), scheduling the in-person depositions
of the Zekaria Defendants to commence on Friday, March 8, 2024,
at 10:00 a.m., in the President’s Board Room of the Country House
at Bluestone Country Club, 711 Boehms Church Road, in Blue Bell,
PA 19422 (the same room where the 2/7/24 deposition of Manfred
Sternberg was conducted).

This email also will remind you to email us (by tomorrow) the written
agreement between Zekaria and Weiss that Gary Weiss testified to
at yesterday's deposition. Also, to the extent that your clients fail to
provide us by no later than March 1, 2024, with full and complete
answers to the Interrogatories and Document Requests propounded
upon them on October 7, 2023, as well as all of the responsive
documents, then it may be necessary for us to bring the Zekaria
Defendants back for depositions a second time. Let’s try to avoid
that — by your timely production of your clients’ Answers and
documents in response to plaintiff’s discovery (by 3/1/24).

Please contact us, should you have any questions or problems.

thx
Gary Lightman
cell 215-760-3000

attachment

cc: all other defense counsel or parties
    Tate & Tate Court Reporters
    client

<Depo.Notice.Zekaria Defts.021724.pdf>


 On Feb 17, 2024, at 3:07 PM, GARY LIGHTMAN
 <ltag8r@me.com> wrote:
  Case 2:22-cv-00688-JMY Document 167-12 Filed 05/28/24 Page 4 of 5

 <ltag8r@me.com> wrote:

 Patrick,

 Please email me (Monday) the written agreement between Zekaria
 and Weiss that Gary testified to at yesterday's deposition.

 Thanks.

 Gary Lightman, Esquire
 cell (215) 760-3000

—
Gary Lightman, Esquire
LIGHTMAN & MANOCHI
cell: 215-760-3000
email: garylightman@lightmanlaw.com and Ltag8r@me.com


LIGHTMAN & MANOCHI
600 West Germantown Pike, Suite 400
Plymouth Meeting, PA 19462
Phone: (215) 545-3000

New Jersey:
Phone: (856) 795-9669 (ext. 107); fax (856) 795-9339

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